           Case 3:08-cr-05125-BHS      Document 349      Filed 09/29/08    Page 1 of 1



 1

 2

 3

 4

 5

 6

 7

 8                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 9                                  AT TACOMA
10    UNITED STATES OF AMERICA,
11                        Plaintiff,                    CASE NO. CR08-5125BHS
12           v.                                         ORDER GRANTING MOTION
13
                                                        TO JOIN ALL CO-
      EPIFANIO BARRAGAN ESTRADA,                        DEFENDANT PRETRIAL
14
                                                        MOTIONS
                          Defendant.
15

16
           This matter comes before the Court on Defendant Epifanio Barragan Estrada’s
17
     unopposed Motion to Join all co-Defendant Pretrial Motions (Dkt. 336). The Court grants
18
     the motion.
19

20
           It is so ORDERED.
21
           DATED this 29th day of September, 2008.
22




                                                    A
23

24

25

26
                                                    BENJAMIN H. SETTLE
27                                                  United States District Judge
28

     ORDER - 1
